                Case: 5:21-mj-05145-MAS
                       Case 1:21-mj-00382-RMM
                                          Doc #: 1-2
                                                 Document
                                                     Filed: 504/20/21
                                                                Filed 04/20/21
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                                                                                       1 of 1 ID#: 14


     AO 442 (Rev. 11111) ArrestWarrant




                                                              UNITED STATES DISTRICT COURT
                                                                                               for the

                                                                                   District of Columbia

                             United States of America
                                                        v.                                      )
                                                                                                )      Case: 1:21-mj-00382
                           Stephen Chase Randolph
                                                                                                )      Assigned To: Meriweather, Robin M.
                                                                                                )      Assign. Date: 4/16/2021
                                                                                                )      Description: COMPLAINT WI ARREST WARRANT
                                                                                                )
                                                  Defendant


                                                                               ARREST WARRANT
 To:          Any authorized law enforcement officer


         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
 (name of person to be arrested)                                Stephen Chase Randolph
 who is accused of an offense or violation based on the following document filed with the court:

o      Indictment                          o          Superseding Indictment       o Information            o   Superseding Information             11: Complaint
o      Probation Violation Petition                              o   Supervised Release Violation Petition            o Violation Notice            0 Order of the Court
This offense is briefly described as follows:

 18 U.S.C. § 111(a)(I) and (b) - Assaulting, Resisting, or Impeding an Officer Causing Bodily Injury;
 18 U.S.C. § 231(a)(3) and §2 - Obstruction of Law Enforcement During Civil Disorder;
 18 U.S.C. § IS 12(c)(2) - Obstruction of Justice/Congress.



                                                                                                                        .        2021.04.16
Date: __           0",-4-,-,-1"-,16,,,-,/2=0=2=1 __
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                                                                                                                 -u              15:03:02 -04'00'
                                                                                                                      Issuing officer's signature

City and state:                                         Washin   on,,-=D~.~C-,-.
                                                                          __
                                                                                                                        Printed name and title


                                                                                        Return

            This warrant was received ~n (date).                        CH/II i' (,J.D.)   \        ,and the person was arrested on (date) C         J {2iJ 12"(')21
at   (city and state)    r-\f'
                        (4'Lol>S)3\,~.{JI                         IA/                '
Date:      O~(20I2f)2f
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